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     UBER TECHNOLOGIES, INC.
16   and OTTOMOTTO LLC
17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                      SAN FRANCISCO DIVISION
20   WAYMO LLC,                                            Case No. 3:17-cv-00939-WHA
21                         Plaintiff,                      DEFENDANTS UBER
                                                           TECHNOLOGIES, INC. AND
22           v.                                            OTTOMOTTO LLC’S
                                                           FEBRUARY 8, 2018
23   UBER TECHNOLOGIES, INC.,                              ROLLING WITNESS LIST
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
24
                           Defendants.
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     DEFENDANTS UBER AND OTTOMOTTO’S FEBRUARY 8, 2018 ROLLING WITNESS LIST
     Case No. 3:17-cv-00939-WHA
     sf-3866269
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 1           Defendants Uber Technologies, Inc. and Ottomotto LLC (collectively, “Uber”) submit the

 2   following witness list pursuant to the Court’s Order to maintain a “rolling, written list of the next

 3   seven or fewer witnesses it intends to call at trial.” (Dkt. 2340 at 1.) Per the parties’ agreement,

 4   Uber lists the witnesses in the order in which Defendants intend to call them. Uber anticipates

 5   that the order of the witnesses listed below may change depending on how the case unfolds. Uber

 6   will promptly notify Waymo of any change in the witness order, and the witness order will be

 7   updated in Uber’s next rolling witness.

 8           1.     Anthony Levandowski1

 9           2.     Discovery designations (Waymo’s Responses to Defendants’ Third Set of
                    RFA Nos. 10-19, 22-23,dated August 21, 2017, and Waymo’s Supplemental
10                  Responses to Defendants’ Third Set of RFA No. 20, dated August 30, 2017)
11           3.     Kevin Faulkner

12           4.     Cameron Poetzscher

13           5.     Scott Boehmke

14           6.     James Haslim

15           7.     Ben Ingram (by deposition)

16           8.     David Drummond (by deposition)

17           9.     David Lawee (by deposition)

18           Pursuant to the Court’s order on closure of the courtroom (see Dkt. 2492 at 3 ¶ 3(a)), Uber

19   does not believe that any items of evidence or argument to be presented with the above-named

20   witnesses require courtroom closure, although Waymo may have a different view.

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              Defendants Uber and Ottomotto continue to believe it would be extremely prejudicial to
     Uber and Ottomotto for Anthony Levandowski to be called to the stand for the sole purpose of
27   asserting the Fifth Amendment. Should the Court disagree and allow Waymo to call
     Mr. Levandowski, however, Defendants would seek leave of the Court to question
28   Mr. Levandowski at the same time.
     DEFENDANTS UBER AND OTTOMOTTO’S FEBRUARY 8, 2018 ROLLING WITNESS LIST
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 1   Dated: February 8, 2018                     MORRISON & FOERSTER LLP

 2

 3                                               By: /s/ Arturo J. González
                                                     ARTURO J. GONZÁLEZ
 4
                                                      Attorneys for Defendants
 5                                                    UBER TECHNOLOGIES, INC. and
                                                      OTTOMOTTO LLC
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